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                        INSURANCE, and BLUE CROSS OF
                  13    CALIFORNIA
                  14
                  15                           UNITED STATES DISTRICT COURT
                  16                         CENTRAL DISTRICT OF CALIFORNIA
                  17
                  18    CHRISTOPHER LURES, on behalf of              Case No. 2:22-cv-02048-SVW-AS
                        himself and all others similarly situated,
                  19                                                 DEFENDANTS’ NOTICE OF
                                            Plaintiffs,              RELATED CASES
                  20
                                     vs.                             [C.D. Cal. L.R. 83-1.3]
                  21
                        ANTHEM, INC.; AIM SPECIALTY
                  22    HEALTH; ANTHEM BLUE CROSS
                        LIFE AND HEALTH INSURANCE
                  23    COMPANY; BLUE CROSS OF
                        CALIFORNIA and DOES 1-50,
                  24    inclusive,
                  25                        Defendants.
                  26
                  27
                  28
MORGAN, LEWIS &
 BOCKIUS LLP                                                                 DEFENDANTS’ NOTICE OF RELATED
 ATTORNEYS AT LAW                                                                                    CASES
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                    1   TO THE HONORABLE COURT, PLAINTIFF, AND HIS ATTORNEYS OF
                    2   RECORD:
                    3         PLEASE TAKE NOTICE THAT, pursuant to Local Rule 83-1.3.1, the
                    4   above-captioned action is related to another action pending before this Court,
                    5   Kikishia Burrus v. Anthem, Inc., et al., Case No. 2:22-cv-09433-JLS (MARx) (the
                    6   “Burrus Action”), as defined by Local Rule 83-1.3.1. Attached as Exhibit A to this
                    7   notice is a true and correct copy of the operative complaint in the Burrus Action.
                    8         This case is related to the Burrus Action because they both involve
                    9   overlapping claims, parties, and employees. Defendant Elevance Health, Inc. (f.k.a.
                  10    Anthem, Inc.) (“Elevance”) is a defendant in both actions. The plaintiff in the
                  11    Burrus Action alleges causes of action against Defendants The Elevance Health
                  12    Companies, Inc. and Elevance Health, Inc. for: (1) failure to provide meal periods;
                  13    (2) failure to provide rest periods; (3) failure to pay hourly wages; (4) failure to
                  14    indemnify; (5) failure to provide accurate written wage statements; (6) failure to
                  15    timely pay all final wages; (7) secret profit through unlawful deduction of wages;
                  16    and (8) unfair competition. See Ex. A. The claims in the operative complaint in the
                  17    instant action substantially overlap these causes of action. ECF 2, Ex. A (Compl.).
                  18    The putative class members and the purported liability period covered by each
                  19    action substantially overlap. Compare ECF 2, Ex. A (Compl. ¶ 34) (defining
                  20    purported class to include “[a]ll current and former non-exempt employees of
                  21    Defendants located within the geographic boundary of the State of California, at
                  22    any time from January 31, 2018 to the date of judgment”), with Ex. A (Compl. ¶
                  23    10) (defining purported class to include “[a]ll persons employed by Defendants . . .
                  24    in hourly or non-exempt positions in California during the Relevant Time Period”)
                  25    (emphasis in original).
                  26          The Lures action seeks to recover damages on behalf of a putative class of
                  27    individuals who are also alleged members of the putative class in the Burrus
                  28    Action, for the same alleged Labor Code violations and based on the same factual
MORGAN, LEWIS &
                                                                                DEFENDANTS’ NOTICE OF RELATED
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  SAN FRANCISCO
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                    1   allegations alleged in the Burrus Action. The Burrus Action and the present action
                    2   both allege violations of Labor Code §§ 201, 202, 203, 204, 221, 222, 223, 226(a),
                    3   226.7, 512, and 2802 and Business & Professions Code §§ 17200, et seq. Given the
                    4   overlap of claims and putative class members, these cases call for the determination
                    5   of the same or substantially similar questions of law fact.
                    6         The Lures action is currently stayed in accordance with the parties’ joint
                    7   stipulation to stay the matter pending arbitration of plaintiff’s claims pursuant to an
                    8   arbitration agreement between the parties. However, should either party seek to
                    9   confirm or vacate an arbitration award, the issues presented by that petition would
                  10    directly relate to the issues presented in the Burrus Action.
                  11
                  12    Dated:       January 11, 2023                  MORGAN, LEWIS & BOCKIUS LLP
                  13
                  14                                                   By /s/ Michael D. Weil
                                                                         Michael D. Weil
                  15                                                     Jennifer B. Zargarof
                                                                         Anahi Cruz
                  16                                                     Attorneys for Defendants
                                                                         THE ELEVANCE HEALTH
                  17                                                     COMPANIES, INC. (f.k.a. The
                                                                         Anthem Companies, Inc.) and
                  18                                                     ELEVANCE HEALTH, INC.
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                                                                               DEFENDANTS’ NOTICE OF RELATED
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                         EXHIBIT A
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 7 Attorneys for Plaintiff KIKISHIA BURRUS
 8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA

 9                               FOR THE COUNTY OF SANTA CLARA

10                                    -UNLIMITED JURISDICTION
11 KIKISHIA BURRUS, on behalf of herself and        Case No.22
                                                                 CV402 114
   all others similarly situated, and the general
12 public,                                          CLASS ACTION

13                 Plaintiff,                       COMPLAINT
14          V.                                      1. Failure to Provide Meal Periods (Lab. Code
                                                       §§ 204, 223, 226.7, 512 and 1198);
15 THE ANTHEM COMPANIES, INC., an                   2. Failure to Provide Rest Periods (Lab. Code
   Indiana corporation; ELEVANCE HEALTH,               §§ 204, 223, 226.7 and 1198);
16 INC., an Indiana corporation; and DOES 1         3. Failure to Pay Hourly Wages (Lab. Code §§
   through 50, inclusive,                              223, 510, 1194, 1194.2, 1197, 1997.1 and
17                                                     1198);
                  Defendants.                       4. Failure to Indemnify (Lab. Code § 2802);
18                                                  5. Failure to Provide Accurate Written Wage
                                                       Statements (Lab. Code §§ 226(a));
19                                                  6. Failure to Timely Pay All Final Wages
                                                       (Lab. Code §§ 201, 202 and 203);
20                                                  7. Secret Profit Through Unlawful Deduction
                                                       of Wages (Lab. Code §§ 221, 222, 223);
21                                                  8. Unfair Competition (Bus. & Prof. Code §§
                                                       17200 et seq.);
22                                                  9. Civil Penalties (Lab. Code § 2698, et seq.)
23
                                                    JURY TRIAL DEMANDED
24

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 1          Plaintiff KIKISHIA BURRUS ("Plaintiff'), on behalf of herself and all others similarly

 2 situated, and the general public, complains and alleges as follows:

 3                                           INTRODUCTION

 4          1.      Plaintiff brings this class action against defendants THE ANTHEM COMPANIES,
 5 INC., an Indiana corporation; ELEVANCE HEALTH, INC., an Indiana corporation; and DOES 1

 6 through 50, inclusive, (collectively referred to as "Defendants") for alleged violations of the Labor

 7 Code. As set forth below, Plaintiff alleges that Defendants have
 8          (1)     failed to provide Plaintiff and all other similarly situated individuals with meal

 9                  periods;

10          (2)     failed to provide them with rest periods;
11          (3)     failed to pay them premium wages for missed meal and/or rest periods;

12          (4)     failed to pay them premium wages for missed meal and/or rest periods at the regular

13                  rate of pay;
14          (5)     failed to pay them at least minimum wage for all hours worked;

15          (6)     failed to pay them overtime wages at the correct rate;
16          (7)     failed to pay them double time wages at the correct rate;

17          (8)     failed to pay them overtime and/or double time wages by failing to include all
18                  applicable remuneration in calculating the regular rate of pay;

19          (9)     failed to reimburse them for all necessary business expenses;

20          (10)    unlawfully deducted, received, and/or withheld wages, secretly paying wages below
21                  scale;

22          (11)    failed to provide them with accurate written wage statements; and
23          (12)    failed to pay them all of their final wages following separation of employment.

24 Based on these alleged violations, Plaintiff now brings this class and representative action to

25 recover unpaid wages, restitution, statutory penalties, and related relief on behalf of herself and all

26 others similarly situated.
27 ///

28 ///

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 1                                      JURISDICTION AND VENUE

 2           2.      This Court has subject matter jurisdiction to hear this case because the unpaid wages,

 3 actual damages, liquidated damages, restitution, and penalties sought by Plaintiff from Defendants

 4 exceeds the minimal jurisdictional limits of the Superior Court of the State of California.

 5           3.      Venue is proper in Santa Clara County pursuant to Code of Civil Procedure §§
 6 393(a), 395(a) and 395.5 in that liability arose there, because at least some of the transactions that are

 7 the subject matter of this Complaint occurred therein and/or each defendant is found, maintains

 8 offices, transacts business, and/or has an agent therein.
 9                                                 PARTIES
10           4.      Plaintiff is and was, and at all relevant times mentioned herein, an individual
11   residing in the State of California.

12           5.      Plaintiff is informed and believes, and thereupon alleges, that Defendant ANTHEM

13 COMPANIES, INC. is, and at all relevant times mentioned herein, an Indiana corporation doing
14 business in the State of California.

15           6.      Plaintiff is informed and believes, and thereupon alleges, that Defendant

16 ELEVANCE HEALTH, INC. is, and at all relevant times mentioned herein, an Indiana corporation

17 doing business in the State of California.

18           7.      Plaintiff is ignorant of the true names and capacities of the defendants sued herein as
19 DOES 1 through 50, inclusive, and therefore sues these defendants by such fictitious names.

20 Plaintiff will amend this Complaint to allege the true names and capacities of the DOE defendants
21   when ascertained. Plaintiff is informed and believes, and thereupon alleges, that each of the

22 fictitiously named defendants are responsible in some manner for the occurrences, acts and
23 omissions alleged herein and that Plaintiff's alleged damages were proximately caused by these
24 defendants, and each of them. Plaintiff will amend this complaint to allege both the true names and

25 capacities of the DOE defendants when ascertained.

26           8.      Plaintiff is informed and believes, and thereupon alleges that, at all relevant times
27 mentioned herein, some or all of the defendants were the representatives, agents, employees,

28 partners, directors, associates, joint venturers, joint employers, principals, or co-participants of some

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 1   or all of the other defendants, and, in doing the things alleged herein, were acting within the course
 2 and scope of such relationship and with the full knowledge, consent, and ratification by such other

 3 defendants.
 4                                        CLASS ALLEGATIONS
 5          9.      This action has been brought and may be maintained as a class action pursuant to
 6 Code of Civil Procedure § 382, because there is a well-defined community of interest among the

 7 persons who comprise the readily ascertainable classes defined below and because Plaintiff is
 8 unaware of any difficulties likely to be encountered in managing this case as a class action.

 9          10.     Relevant Time Period: The relevant time period is defined as the time period
10 beginning four years prior to the filing of this action until judgment is entered.

11          Hourly Employee Class: All persons employed by Defendants and/or any staffing
            agencies and/or any other third parties in hourly or non-exempt positions in California
12          during the Relevant Time Period.
13                  Meal Period Sub-Class: All Hourly Employee Class members who worked
                    in a shift in excess of five hours during the Relevant Time Period.
14
                    Rest Period Sub-Class: All Hourly Employee Class members who worked
15                  a shift of at least three and one-half (3.5) hours during the Relevant Time
                    Period.
16
                    Regular Rate Class: All of Defendants' hourly, non-exempt employees who
17                  were not paid overtime wages for all overtime hours worked and/or premiums
                    for meal and/or rest break violations as a result of not factoring in
18                  nondiscretionary compensation, including, but not limited to, flex credits,
                    quarterly performance bonuses and/or non-discretionary bonuses during the
19                  Relevant Time Period.

20                  Wane Statement Penalties Sub-Class: All Hourly Employee Class
                    members employed by Defendants in California during the period beginning
21                  one year before the filing of this action and ending when final judgment is
                    entered.
22
                    Wallin Time Penalties Sub-Class: All Hourly Employee Class members
23                  who separated from their employment with Defendants during the period
                    beginning three years before the filing of this action and ending when final
24                  judgment is entered.

25          UCL Class: All Hourly Employee Class members employed by Defendants in
            California during the Relevant Time Period.
26
            Expense Reimbursement Class: All persons employed by Defendants in California
27          who worked from their home the Relevant Time Period.
28

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 1           11 .   Reservation of Rights: Pursuant to Rule of Court 3 .765 (b),Plaintiff reserves the

 2   right to amend or modiか the class definitions with greater specificity by further division into sub-

 3   classes and/or by limitation to particular issues.

 4           12 .   Numerosity:The class members are so numerous that the individual joinder of each

 5   individual class member is impractical.While Plaintiff does not currently know the exact number of

 6   class members,Plaintiff is informed and believes,and thereupon alleges,that the actual number

 7   exceeds the minimum required for numerosity under California law.

 8          13 .    Commonality and Predominance :Common questions of law and fact exist as to all

 9   class members and predominate over any questions that affect only individual class members.These

10   common questions include,but are not limited to :

11             i.   Whether Defendants maintained a policy or practice of failing to provide employees

12                  with their meal periods;

13            ii
               .    Whether Defendants maintained a policy or practice of failing to provide employees

14                  with their rest periods;

15           iii
               . Whether Defendants failed to pay premium wages to class members when they have

16                  not been provided with required meal and/or rest periods;

17            iv.   Whether Defendants failed to pay minimum and/or overtime wages to class members

18                  as a result of policies that fail to provide meal periods in accordance with California

19                  law;

20            y.    Whether Defendants failed to pay minimum and/or overtime wages to class members

21                  for all time worked;

22            vi.   Whether Defendants used payroll formulas that systematically fail to account for

23                  non-discretionary bonuses and
                                                /or other applicable remuneration when calculating

24                  regular rates of pay for class members;

25           vii.   Whether Defendants failed to pay overtime wages to class members as a result of

26                  incorrectly calculating their regular rates of pay;

27          viii.   Whether Defendants failed to pay premium wages to class members based on their

28                  respective "regular rates of compensation" by not including non-discretionary

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  1                  bonuses and/or other applicable remuneration in calculating the rates at which those
  2                  wages are paid;

  3            ix.   Whether Defendants failed to reimburse class members for all necessary business

  4                  expenses incurred during the discharge of their duties;

  5            x.    Whether Defendants unlawfully deducted, received, and/or withheld wages, secretly

  6                  paying wages below scale

  7            xi.   Whether Defendants failed to provide class members with accurate written wage

  8                  statements as a result of providing them with written wage statements with

  9                  inaccurate entries for, among other things, amounts of gross and net wages, and total

 10                  hours worked;
 11           xii.   Whether Defendants applied policies or practices that result in late and/or incomplete

 12                  final wage payments;

 13          xiii.   Whether Defendants are liable to class members for waiting time penalties under
 14                  Labor Code section 203;
 15          xiv.    Whether class members are entitled to restitution of money or property that

 16                  Defendants may have acquired from them through unfair competition;

 17           14.    Typicality: Plaintiffs claims are typical of the other class members' claims. Plaintiff

 18 is informed and believes, and thereupon alleges, that Defendants have a policy or practice of failing
 19 to comply with the Labor Code and Business and Professions Code as alleged in this Complaint.

 20           15.    Adequacy of Class Representative: Plaintiff is an adequate class representative in
 21   that she has no interests that are adverse to or otherwise conflict with the interests of absent class

 22 members and is dedicated to vigorously prosecuting this action on their behalf. Plaintiff will fairly
 23 and adequately represent and protect the interests of the other class members.
 24           16.    Adequacy of Class Counsel: Plaintiffs counsel are adequate class counsel in that

 25 they have no known conflicts of interest with Plaintiff or absent class members, are experienced in

 26 wage and hour class action litigation, and are dedicated to vigorously prosecuting this action on
 27 behalf of Plaintiff and absent class members.

 28           17.    Superiority: A class action is vastly superior to other available means for fair and

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  1 efficient adjudication of the class members 'claims and would be beneficial to the parties and the

  2   Court.Class action treatment will allow a number of similarly situated persons to prosecute their

  3   common claims simultaneously and efficiently in a single forum without the unnecessary

  4   duplication of effort and expense that numerous individual actions would entail.In addition,the

  5   monetary amounts due to many individual class members are likely to be relatively small and would

  6   thus make itdifficult,if not impossible,for individual class members to both seek and obtain relief.

  7   Moreover,a class action will serve an important public interest by permitting class members to

  8   effectively pursue the recovery of monies owed to them.Further,a class action will prevent the

  9   potential for inconsistent or contradictory judgments inherent in individual litigation.

 10             GENERAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

 li           18 .   Plaintiff worked for Defendants as a Referral Specialist in an hourly,non-exempt

 12   position from approximately 2008 through January 31 ,2022.

 13                                              Clock In Process

 14           19.    Plaintiff and the putative class were trained to clock in for each work shift using the

 15   computer and/or company phone issued to them. Plaintiff and the putative class were regularly

 16   required to first turn on their computer and wait for itto load. After Plaintiff and the putative class

 17   entered their log in information,their computer and/or phone would proceed to load to the desktop

 18   and/or home screen as part of the normal boot up process. It generally took approximately five

 19   minutes for itto boot up,for putative class members to log in,and for putative class members to get

 20   "clocked in" so that they would begin being compensated.

 21          20.     Occasionally,Plaintiff and the putative class would encounter login errors or crashes

 22   that would require them to restart the entire boot up process and
                                                                      /or reach out to technical support

 23   with their personal phones. The entire time spent booting up the computer would not be accurately

 24   recorded and therefore resulted in Plaintiff and the putative class not being paid for all hours

 25   worked while waiting for the computer the boot up.

 26          21 .    Boot up time was not properly recorded as time worked and resulted in Plaintiff and

 27   the putative class not being paid for all hours worked by Defendants .

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  1                                       Clocking Out/Off-the-Clock
  2          22.     Plaintiff and the putative class would be required to perform off-the-clock work on

  3 multiple occasions after they had clocked out for their shift. For example, Plaintiff and the putative

  4 class would receive text messages and/or phone calls from management after they had already

  5 clocked out for their shift.
  6          23.     Defendants knew or should have known that Plaintiff and the putative class were not
  7 "on the clock" after they had clocked out and therefore should not have directed Plaintiff and the

  8 putative class to review and/or respond to management communications or perform any additional
  9 work once they had clocked out.

 10          24.     The time spent by Plaintiff and the putative class reviewing and/or responding to
 11   management communications could be anywhere from two to ten minutes—time which was unpaid

 12 by Defendants.

 13                                          Missed Meal Periods
 14          25.     Plaintiff and the putative class were not provided with meal periods of at least thirty

 15 (30) minutes for each five (5) hour work period due to (1) Defendants' policy of scheduling each
 16 meal period at the end of the fifth hour as part of each work shift; (2) chronically understaffing

 17 each work shift with not enough workers; (3) imposing so much work on each employee such that

 18 it made it unlikely that an employee would be able to take their breaks if they wanted to finish their
 19 work on time; and (4) no formal written meal and rest period policy that encouraged employees to

 20 take their meal and rest periods.
 21          26.     As a result of Defendants' policy, Plaintiff and the putative class were regularly not

 22 provided with uninterrupted meal periods of at least thirty (30) minutes for each five (5) hours
 23 worked due to Defendant's scheduling a meal period at the end of the fifth hour and Defendants'
 24 productivity requirements instructing them to attend to each call thoroughly until completion.

 25          27.     On instances when Plaintiff and the putative class members' meal periods were

 26 missed, late and/or shortened due to Defendants' policies and/or practices, Defendants
 27 systematically failed to pay Plaintiff and the putative class premium wages.

 28 ///

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  1                                            Missed Rest Breaks

  2          28 .    Plaintiff and the putative class were not provided with rest breaks of at least ten (10)

  3   minutes for each four (4) hour work period,or major fraction thereof,due to (1 ) Defendants'

  4   chronically understaffing each work shift with not enough workers;(2) imposing so much work on

  5   each employee such that itmade itunlikely that an employee would be able to take their breaks if

  6   they wanted to finish their work on time;and (3)no formal written meal and rest period policy that

  7   encouraged employees to take their meal and rest breaks.

  8          29.     As a result of Defendants'policy,Plaintiff and the putative class were regularly not

  9   provided with uninterrupted rest periods of at least ten (10) minutes for each four (4) hours worked

 10   due to complying with Defendants'productivity requirements that required Plaintiff and the

 11   putative class to work through their rest periods in order to complete their assignments on time.

 12           30.    On instances when Plaintiff and the putative class members'rest breaks were

 13   missed,late and/or shortened due to Defendants'policies and/or practices,Defendants

 14   systematically failed to pay Plaintiff and the putative class premium wages.

 15                                            Regular Rate of Pay

 16           31 .   The regular rate of pay under California law includes all remuneration for

 17   employment paid,on behalf of the employer,to the employee.This requirement includes,but is

 18   not limited to,flex credits,quarterly performance bonuses and
                                                                  /or non-discretionary bonuses.

 19           32.    During the applicable limitations period,Defendants violated the rights of Plaintiff

 20   and the putative class under the above-referenced Labor Code sections by failing to pay them

 21   overtime wages for all overtime hours worked in violation of Labor Code §§ 510,1194,and 1198

 22   as a result of not correctly calculating their regular rate of pay to include all applicable

 23   remuneration,including,but not limited to flex credits,quarterly performance bonuses and
                                                                                             /or non-

 24   discretionary bonuses.

 25                                          Expense Reimbursement

 26           33 .   Plaintiff and the putative class members worked remotely in a home office and

 27   telecommuted as part of their job for Defendants.Plaintiff was already working remotely when the

 28   pandemic unfolded.In response to the COVID-19 crisis,Defendants closed their office space to

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  1   Plaintiff and the putative class members, requiring that they work from home.
  2           34.   Plaintiff and the putative class members were provided with a monitor, laptop,

  3 keyboard, phone, and modem to allow them to execute their job duties during the relevant time

  4 period.

  5           35.   Plaintiff and the putative class had to set up a desk and office space in their homes in
  6 order to have a place to execute their job duties with Defendants' equipment.

  7           36.   Plaintiff and the putative class members were not reimbursed for business expenses

  8 incurred in telecommuting as a part of their job including but not limited to, wifi expenses,
  9 electricity expenses, the expenses of required personal cell phone usage, and/or rent expenses for

 10 the physical office space they were required to keep in their home.

 11           37.   Defendants failed to reimburse Plaintiff and the putative class for such necessary

 12 business expenses incurred by them.

 13                                           Wage Statements
 14           38.   Plaintiff and the putative class were not provided with accurate wage statements as
 15 mandated by law pursuant to Labor Code § 226.
 16           39.   Defendants failed to comply with Labor Code 0167 226(a)(1) as "gross wages
 17 earned" were not accurately reflected in that all hours worked, including overtime and "off-the-
 18 clock" work were not included.

 19           40.   Defendants failed to comply with Labor Code section 226(a)(2) as "total hours

 20 worked by the employee" were not accurately reflected in that all hours worked, including overtime
 21   and "off-the-clock" work were not included.
 22           41.   Defendants failed to comply with Labor Code section 226(a)(4) as "all deductions"
 23 were not accurately reflected in that deductions, even "aggregated and shown as one item," were not
 24 included.

 25           42.   Defendants failed to comply with Labor Code section 226(a)(5) as "net wages

 26 earned" were not accurately reflected in that all hours worked, including overtime and "off-the-
 27 clock" work were not included.

 28           43.   Defendants failed to comply with Labor Code section 226(a)(9) as "all applicable

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  1   hourly rates in effect during the pay period and the corresponding number of hours worked at each
  2 hourly rate by the employee" were not accurately reflected in that all hours worked, including

  3 overtime and "off-the-clock" work were not included.
  4                                      FIRST CAUSE OF ACTION
  5                             FAILURE TO PROVIDE MEAL PERIODS
  6                             (Lab. Code §§ 204, 223, 226.7, 512 and 1198)
  7                                  (Plaintiff and Meal Period Sub-Class)
  8           44.   Plaintiff incorporates by reference the preceding paragraphs as if fully alleged

  9 herein.

 10           45.   At all relevant times, Plaintiff and the Meal Period Sub-Class members have been
 11   non-exempt employees of Defendants entitled to the full meal period protections of both the Labor

 12 Code and the applicable Industrial Welfare Commission Wage Order ("Wage Order").

 13           46.   Labor Code § 512 and § 11 of the applicable Wage Order impose an affirmative
 14 obligation on employers to provide non-exempt employees with uninterrupted, duty-free meal

 15 periods of at least thirty minutes for each work period of five hours, and to provide them with two
 16 uninterrupted, duty-free meal periods of at least thirty minutes for each work period of ten hours.

 17           47.   Labor Code § 226.7 and § 11 of the applicable Wage Order both prohibit employers

 18   from requiring employees to work during required meal periods and require employers to pay non-

 19 exempt employees an hour of premium wages on each workday that the employee is not provided

 20 with the required meal period.
 21           48.   Compensation for missed meal periods constitutes wages within the meaning of

 22 Labor Code § 200.
 23           49.   Labor Code § 1198 makes it unlawful to employ a person under conditions that
 24 violate the applicable Wage Order.

 25           50.   Section 11 of the applicable Wage Order states:

 26                 "No employer shall employ any person for a work period of more than five (5)
                    hours without a meal period of not less than 30 minutes, except that when a
 27                 work period of not more than six (6) hours will complete the day's work the
                    meal period may be waived by mutual consent of the employer and employee.
 28                 Unless the employee is relieved of all duty during a 30 minute meal period, the

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  1                    meal period shall be considered an 'on duty' meal period and counted as time
                       worked. An 'on duty' meal period shall be permitted only when the nature of
  2                    the work prevents an employee from being relieved of all duty and when by
                       written agreement between the parties an on-the-job paid meal period is agreed
  3                    to. The written agreement shall state that the employee may, in writing, revoke
                       the agreement at any time."
  4
              51.      At all relevant times, Plaintiff was not subject to a valid on-duty meal period
  5
      agreement. Plaintiff is informed and believes that, at all relevant times, Meal Period Sub-Class
  6
      members were not subject to valid on-duty meal period agreements with Defendants.
  7
              52.      Plaintiff alleges that, at all relevant times during the applicable limitations period,
  8
      Defendants maintained a policy or practice of not providing Plaintiff and members of the Meal
  9
      Period Sub-Class with uninterrupted, duty-free meal periods for at least thirty (30) minutes for
 10
      each five (5) hour work period, as required by Labor Code § 512 and the applicable Wage Order.
 11
              53.      Plaintiff alleges that, at all relevant times during the applicable limitations period,
 12
      Defendants maintained a policy or practice of failing to pay premium wages to Meal Period Sub-
 13
      Class members when they worked five (5) hours without clocking out for any meal period.
 14
              54.      Moreover, Defendants' written policies do not provide that employees must take
 15
      their first meal period before the end of the fifth hour of work, that employees are entitled to a
 16
      second meal period if they work a shift of over ten hours, or that the second meal period must
 17
      commence before the end of the tenth hour of work, unless waived.
 18
              55.      At all relevant times, Defendants failed to pay Plaintiff and the Meal Period Sub-
 19
      Class members additional premium wages, and/or were not paid premium wages at the employees'
 20
      regular rates of pay when required meal periods were not provided.
 21
              56.      Pursuant to Labor Code §§ 204, 218.6 and 226.7, Plaintiff, on behalf of herself and
 22
      the Meal Period Sub-Class members, seek to recover unpaid premium wages, interest thereon, and
 23
      costs of suit.
 24
              57.      Pursuant to Labor Code § 1194, Code of Civil Procedure § 1021.5, the substantial
 25
      benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf of herself and the Meal
 26
      Period Sub-Class members, seeks to recover reasonable attorneys' fees.
 27
      ///
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  1                                     SECOND CAUSE OF ACTION
  2                              FAILURE TO PROVIDE REST PERIODS

  3                                 (Lab. Code §§ 204, 223, 226.7 and 1198)
  4                                  (Plaintiff and Rest Period Sub-Class)
  5          58.     Plaintiff incorporates the preceding paragraphs as if fully alleged herein.
  6          59.     At all relevant times, Plaintiff and the Rest Period Sub-Class members have been
  7 non-exempt employees of Defendants entitled to the full rest period protections of both the Labor

  8 Code and the applicable Wage Order.

  9          60.     Section 12 of the applicable Wage Order imposes an affirmative obligation on

 10 employers to permit and authorize employees to take required rest periods at a rate of no less than
 11   ten minutes of net rest time for each four-hour work period, or major fraction thereof, that must be

 12 in the middle of each work period insofar as practicable.

 13          61.     Labor Code § 226.7 and § 12 of the applicable Wage Order both prohibit employers
 14 from requiring employees to work during required rest periods and require employers to pay non-

 15 exempt employees an hour of premium wages at the employees' regular rates of pay, on each
 16 workday that the employee is not provided with the required rest period(s).

 17          62.     Compensation for missed rest periods constitutes wages within the meaning of Labor
 18 Code § 200.

 19          63.     Labor Code § 1198 makes it unlawful to employ a person under conditions that

 20 violate the Wage Order.
 21          64.     Plaintiff alleges that, at all relevant times during the applicable limitations period,

 22 Defendants maintained a policy or practice of not providing members of the Rest Period Sub-Class
 23 with net rest period of at least ten minutes for each four-hour work period, or major fraction thereof,
 24 as required by the applicable Wage Order.

 25          65.     At all relevant times, Defendants failed to pay Plaintiff and the Rest Period Sub-

 26 Class members additional premium wages when required rest periods were not provided.
 27          66.     Specifically, Defendants written policies do not provide that employees may take a
 28 rest period for each four hours worked, or major fraction thereof, nor that rest periods should be

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  1   taken in the middle of each work period insofar as practicable.
  2          67.     Pursuant to Labor Code §§ 204, 218.6 and 226.7, Plaintiff, on behalf of herself and

  3   Rest Period Sub-Class members, seeks to recover unpaid premium wages, interest thereon, and
  4 costs of suit.

  5          68.     Pursuant to Labor Code § 1194, Code of Civil Procedure § 1021.5, the substantial
  6 benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf of herself and Rest Period

  7 Sub-Class members, seeks to recover reasonable attorneys' fees.

  8                                     THIRD CAUSE OF ACTION

  9                     FAILURE TO PAY HOURLY AND OVERTIME WAGES

 10                             (Lab. Code §§ 223, 510, 1194, 1197 and 1198)
 11                                 (Plaintiff and Hourly Employee Class)

 12          69.     Plaintiff incorporates the preceding paragraphs as if fully alleged herein.

 13          70.     At all relevant times, Plaintiff and Hourly Employee Class members are or have
 14 been non-exempt employees of Defendants entitled to the full protections of the Labor Code and the

 15 applicable Wage Order.
 16          71.     Section 2 of the applicable Wage Order defines "hours worked" as "the time during

 17 which an employee is subject to the control of the employer, and includes all the time the employee

 18 is suffered or permitted to work, whether or not required to do so."
 19          72.     Section 4 of the applicable Wage Order requires an employer to pay non-exempt
 20 employees at least the minimum wage set forth therein for all hours worked, which consists of all
 21   hours that an employer has actual or constructive knowledge that employees are working.

 22          73.     Labor Code § 1194 invalidates any agreement between an employer and an
 23 employee to work for less than the minimum or overtime wage required under the applicable Wage
 24 Order.

 25          74.     Labor Code § 1194.2 entitles non-exempt employees to recover liquidated damages

 26 in amounts equal to the amounts of unpaid minimum wages and interest thereon in addition to the
 27 underlying unpaid minimum wages and interest thereon.

 28          75.     Labor Code § 1197 makes it unlawful for an employer to pay an employee less than

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  1   the minimum wage required under the applicable Wage Order for all hours worked during a payroll
  2 period.

  3           76.    Labor Code § 1197.1 provides that it is unlawful for any employer or any other

  4 person acting either individually or as an officer, agent, or employee of another person to pay an
  5   employee, or cause an employee to be paid, less than the applicable minimum wage.
  6           77.    Labor Code § 1198 makes it unlawful for employers to employ employees under
  7 conditions that violate the applicable Wage Order.

  8           78.    Labor Code § 204 requires employers to pay non-exempt employees their earned
  9 wages for the normal work period at least twice during each calendar month on days the employer

 10 designates in advance and to pay non-exempt employees their earned wages for labor performed in

 11   excess of the normal work period by no later than the next regular payday.
 12           79.    Labor Code § 223 makes it unlawful for employers to pay their employees lower
 13 wages than required by contract or statute while purporting to pay them legal wages.

 14           80.    Labor Code § 510 and § 3 of the applicable Wage Order require employers to pay
 15 non-exempt employees overtime wages of no less than one and one-half times the employees'

 16 respective regular rates of pay for all hours worked in excess of eight hours in one workday, all

 17 hours worked in excess of forty hours in one workweek, and for the first eight hours worked on the
 18   seventh consecutive day of one workweek.

 19           81.    Labor Code § 510 and § 3 of the applicable Wage Order also require employers to

 20 pay non-exempt employees overtime wages of no less than two times the employees' respective
 21   regular rates of pay for all hours worked in excess of twelve hours in one workday and for all hours

 22 worked in excess of eight hours on a seventh consecutive workday during the workweek.
 23           82.    Plaintiff is informed and believes that, at all relevant times, Defendants have applied

 24 centrally devised policies and practices to her and Hourly Employee Class members with respect

 25 to working conditions and compensation arrangements.

 26           83.    At all relevant times, Defendants failed to pay hourly wages to Plaintiff and Hourly
 27 Employee Class members for all time worked, including but not limited to, overtime hours at

 28 statutory and/or agreed rates.

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  1          84.     During the relevant time period, Defendants failed to pay Plaintiff and Hourly
  2 Employee Class members all earned wages every pay period at the correct rates, including

  3   overtime rates, because Defendants directed, permitted, or otherwise encouraged Plaintiff and
  4   Hourly Employee Class members to perform off-the-clock work.
  5          85.     As a result of Defendants' unlawful conduct, Plaintiff and Hourly Employee Class
  6 members have suffered damages in an amount subject to proof, to the extent they were not paid the

  7 full amount of wages earned during each pay period during the applicable limitations period,

  8 including overtime wages.
  9          86.     Pursuant to Labor Code §§ 204, 218.6, 223, 510, 1194 and 1194.2, Plaintiff, on
 10 behalf of herself and Hourly Employee Class members, seeks to recover unpaid straight time and

 11   overtime wages, interest thereon, and costs of suit.
 12          87.     The regular rate of pay under California law includes all remuneration for

 13 employment paid, on behalf of the employer, to the employee. This requirement includes but is not
 14 limited to, flex credits, quarterly performance bonuses, non-discretionary bonuses, etc.

 15          88.     During the applicable limitations period, Defendants violated the rights of Plaintiff
 16 and Hourly Employee Class members under the above-referenced Labor Code sections by failing

 17 to pay them overtime wages for all overtime hours worked in violation of Labor Code §§ 510, 1194

 18 and 1198 by not correctly calculating their regular rate of pay to include all applicable
 19 remuneration, including but not limited to, flex credits, quarterly performance bonuses, non-

 20 discretionary bonuses, etc.
 21          89.     California law uses the terms "compensation" and "pay" interchangeably and
 22 requires that all applicable remuneration, including but not limited to flex credits, quarterly

 23 performance bonuses, non-discretionary bonuses, etc. be included when calculating an employee's
 24 regular rate of pay.

 25          90.     At all relevant times, Defendants paid Plaintiff premium wages based on a rate of

 26 compensation that did not reflect, among other things, flex credits, quarterly performance bonuses,
 27 non-discretionary bonuses, etc. as required by Labor Code § 226.7(b) and §§ 11 and 12 of the

 28 applicable Wage Order on the occasions when Defendants paid her premium wages in lieu of meal

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  1 and/or rest periods.

  2          91.    Plaintiff is informed and believes, and thereupon alleges, that, at all relevant times

  3 during the applicable limitations period, Defendants maintained a policy or practice of paying

  4 Hourly Employee Class members premium wages based on rates of compensation that have not

  5 reflected flex credits, quarterly performance bonuses, non-discretionary bonuses, etc. as required by

  6 Labor Code § 226.7(b) and §§ 11 and 12 of the applicable Wage Order on the occasions when

  7 Defendants paid them premium wages in lieu of meal and/or rest periods.

  8          92.    Pursuant to Labor Code § 1194, Code of Civil Procedure § 1021.5, the substantial

  9 benefit doctrine, and/or the common fund doctrine, Plaintiff, on behalf of herself and Hourly

 10 Employee Class members, seeks to recover reasonable attorneys' fees.
 11                                    FOURTH CAUSE OF ACTION

 12                                     FAILURE TO INDEMNIFY

 13                                           (Lab. Code § 2802)
 14                              (Plaintiff and Expense Reimbursement Class)

 15          93.    Plaintiff incorporates the preceding paragraphs as if fully alleged herein.
 16          94.    Labor Code section 2802(a) states:

 17          An employer shall indemnify his or her employee for all necessary expenditures or
             losses incurred by the employee in direct consequence of the discharge of his or her
 18          duties, or of his or her obedience to the directions of the employer, even though
             unlawful, unless the employee, at the time of obeying the directions, believed them to
 19          be unlawful.

 20          95.    At all relevant times during the applicable limitations period, Plaintiff and the

 21   Expense Reimbursement Class members incurred necessary business expenses as a result of

 22 telecommuting from a home office including but not limited to, wifi, electricity, personal cell phone
 23 usage, and/or rent expenses.
 24          96.    Plaintiff is informed and believes and thereupon alleges that the reimbursement paid

 25 by Defendants was insufficient to indemnify Plaintiff for all necessary expenses incurred in the

 26 discharge of their duties.
 27          97.    Plaintiff is informed and believes and thereupon alleges that the reimbursement paid

 28 by Defendants was insufficient to indemnify Expense Reimbursement Class members for all

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  1   necessary business expenses incurred in the discharge of their duties.
  2          98.     At all relevant times during the applicable limitations period, Defendants required
  3 Plaintiff and the Expense Reimbursement Class members to pay for expenses and/or losses caused

  4 by Defendants' want of ordinary care. Defendants failed to indemnify Plaintiff and Expense

  5 Reimbursement Class members for all such expenditures.
  6          99.     At all relevant times during the applicable limitations period, Defendants required
  7 Plaintiff and Expense Reimbursement Class members to purchase and maintain uniforms and

  8 apparel unique to Defendants at Plaintiffs and Expense Reimbursement Class members' expense.
  9 Defendants failed to indemnify Plaintiff and Expense Reimbursement Class members for all such

 10 expenditures.

 11          100.    Plaintiff is informed and believes that, during the applicable limitations period,

 12 Defendants maintained a policy or practice of not reimbursing Plaintiff and Expense

 13 Reimbursement Class members for all necessary business expenses.
 14          101.    Accordingly, Plaintiff and Expense Reimbursement Class members are entitled to

 15 restitution for all unpaid amounts due and owing within four years of the date of the filing of the
 16 original Complaint and until the date of entry ofjudgment.

 17          102.    Plaintiff, on behalf of herself, and Expense Reimbursement Class members, seeks

 18 interest thereon and costs pursuant to Labor Code § 218.6 and reasonable attorneys' fees pursuant to
 19 Code of Civil Procedure § 1021.5.

 20                                      FIFTH CAUSE OF ACTION

 21            FAILURE TO PROVIDE ACCURATE WRITTEN WAGE STATEMENTS

 22                                            (Lab. Code § 226)
 23                          (Plaintiff and Wage Statement Penalties Sub-Class)

 24          103.    Plaintiff incorporates the preceding paragraphs as if fully alleged herein.

 25          104.    Labor Code § 226(a) states:

 26          An employer, semimonthly or at the time of each payment of wages, shall furnish to
             his or her employee, either as a detachable part of the check, draft, or voucher paying
 27          the employee's wages, or separately if wages are paid by personal check or cash, an
             accurate itemized statement in writing showing (1) gross wages earned, (2) total hours
 28          worked by the employee, except as provided in subdivision (j), (3) the number of

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  1          piece-rate units earned and any applicable piece rate if the employee is paid on apiece-
             rate basis, (4) all deductions, provided that all deductions made on written orders of
  2          the employee may be aggregated and shown as one item, (5) net wages earned, (6) the
             inclusive dates of the period for which the employee is paid, (7) the name of the
  3          employee and only the last four digits of his or her social security number or an
             employee identification number other than a social security number, (8) the name and
  4          address of the legal entity that is the employer and, if the employer is a farm labor
             contractor, as defined in subdivision (b) of Section 1682, the name and address of the
  5          legal entity that secured the services of the employer, and (9) all applicable hourly
             rates in effect during the pay period and the corresponding number of hours worked
  6          at each hourly rate by the employee and, beginning July 1, 2013, if the employer is a
             temporary services employer as defined in Section 201.3, the rate of pay and the total
  7          hours worked for each temporary services assignment. The deductions made from
             payment of wages shall be recorded in ink or other indelible form, properly dated,
  8          showing the month, day, and year, and a copy of the statement and the record of the
             deductions shall be kept on file by the employer for at least three years at the place of
  9          employment or at a central location within the State of California. For purposes of
             this subdivision, 'copy' includes a duplicate of the itemized statement provided to an
 10          employee or a computer-generated record that accurately shows all of the information
             required by this subdivision.
 11

 12          105.    The Division of Labor Standards Enforcement ("DLSE") has sought to harmonize

 13 the "detachable part of the check" provision and the "accurate itemized statement in writing"
 14 provision of Labor Code section 226(a) by allowing for electronic wage statements so long as each

 15 employee retains the right to elect to receive a written paper stub or record and that those who are
 16 provided with electronic wage statements retain the ability to easily access the information and
 17 convert the electronic statements into hard copies at no expense to the employee. (DLSE Opinion

 18   Letter July 6, 2006.)

 19          106.    Plaintiff is informed and believes that, at all relevant times during the applicable

 20 limitations period, Defendants have failed to provide Wage Statement Penalties Sub-Class
 21   members with written wage statements as described above.

 22          107.    Plaintiff is informed and believes that Defendants' failure to provide her and Wage
 23 Statement Penalties Sub-Class members with accurate written wage statements were intentional in
 24 that Defendants had the ability to provide them with accurate wage statements but had intentionally

 25 provided them with written wage statements that Defendants knew do not comply with Labor Code

 26 § 226(a).
 27          108.    Plaintiff and Wage Statement Penalties Sub-Class members have suffered injuries,
 28 in that Defendants have violated Plaintiff's and Wage Statement Penalties Sub-Class members'

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  1   legal rights to receive accurate wage statements and have misled them about their actual rates of pay
  2 and wages earned. In addition, inaccurate information on their wage statements have prevented

  3 immediate challenges to Defendants' unlawful pay practices, has required discovery and

  4 mathematical computations to determine the amount of wages owed, has caused difficulty and

  5 expense in attempting to reconstruct time and pay records, and/or has led to the submission of
  6 inaccurate information about wages and deductions to federal and state government agencies.

  7          109.    Pursuant to Labor Code § 226(e), Plaintiff, on behalf of herself and Wage Statement

  8 Penalties Sub-Class members, seeks the greater of actual damages or fifty dollars ($50.00) for the

  9 initial pay period in which a violation of Labor Code section 226(a) occurred and one hundred

 10 dollars ($100.00) for each subsequent pay period in which a violation of Labor Code § 226(a)
 11   occurred, not to exceed an aggregate penalty of four thousand dollars ($4,000.00) per class member.
 12          110.    Pursuant to Code of Civil Procedure § 1021.5, the substantial benefit doctrine and/or

 13 the common fund doctrine, Plaintiff, on behalf of herself and Wage Statement Penalties Sub-
 14 Class members, seek awards of reasonable attorneys' fees and costs.

 15                                      SIXTH CAUSE OF ACTION
 16                         FAILURE TO TIMELY PAY ALL FINAL WAGES

 17                                         (Lab. Code §§ 201-203)

 18                           (Plaintiff and Waiting Time Penalties Sub-Class)

 19          111.    Plaintiff incorporates the preceding paragraphs as if fully alleged herein.

 20          112.    At all relevant times, Plaintiff and Waiting Time Penalties Sub-Class members
 21   have been entitled, upon the end of their employment with Defendants, to timely payment of all
 22 wages earned and unpaid before termination or resignation.

 23          113.    At all relevant times, pursuant to Labor Code § 201, employees who have been
 24 discharged have been entitled to payment of all final wages immediately upon termination.

 25          114.    At all relevant times, pursuant to Labor Code § 202, employees who have resigned

 26 after giving at least seventy-two (72) hours' notice of resignation have been entitled to payment of
 27 all final wages at the time of resignation.

 28          115.    At all relevant times, pursuant to Labor Code § 202, employees who have resigned

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  1   after giving less than seventy-two (72) hours' notice of resignation have been entitled to payment of
  2 all final wages within seventy-two (72) hours' of giving notice of resignation.

  3          116.    During the applicable limitations period, Defendants failed to pay Plaintiff all of her

  4 final wages in accordance with the Labor Code by failing to timely pay her all of her final wages.

  5          117.    Plaintiff is informed and believes that, at all relevant times during the applicable
  6 limitations period, Defendants have failed to timely pay Waiting Time Penalties Sub-Class

  7 members all of their final wages in accordance with the Labor Code.

  8          118.    Plaintiff is informed and believes that, at all relevant times during the applicable

  9 limitations period, Defendants have maintained a policy or practice of paying Waiting Time
 10 Penalties Sub-Class members their final wages without regard to the requirements of Labor Code
 11   §§ 201 or 202 by failing to timely pay them all final wages.

 12          119.    Plaintiff is informed and believes and thereupon alleges that Defendants' failure to

 13 timely pay all final wages to her and Waiting Time Penalties Sub-Class members have been
 14 willful in that Defendants have the ability to pay final wages in accordance with Labor Code §§ 201

 15 and/or 202 but have intentionally adopted policies or practices that are incompatible with those
 16 requirements.
 17          120.    Pursuant to Labor Code §§ 203 and 218.6, Plaintiff, on behalf of herself and Waiting
 18 Time Penalties Sub-Class members, seeks waiting time penalties from the respective dates that

 19 their fmal wages had first become due until paid, up to a maximum of thirty days, and interest

 20 thereon.
 21          121.    Pursuant to Labor Code § 226, Code of Civil Procedure § 1021.5, the substantial

 22 benefit doctrine and/or the common fund doctrine, Plaintiff, on behalf of herself and Waiting Time
 23 Penalties Sub-Class members, seek awards of reasonable attorneys' fees and costs.
 24                                    SEVENTH CAUSE OF ACTION

 25             SECRET PROFIT THROUGH UNLAWFUL DEDUCTION OF WAGES

 26                                       (Lab. Code §§ 221, 222, 223)
 27                             (Plaintiff and Expense Reimbursement Class)

 28          122.    Plaintiff incorporates the preceding paragraphs as if fully alleged herein.

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  1           123.   At all relevant times, Plaintiff and the Expense Reimbursement Class members

  2 have been entitled to the protections of Labor Code §§ 221, 222, and 223.

  3          Labor Code § 221 states:

  4                  It shall be unlawful for any employer to collect or receive from an employee any part
                     of wages theretofore paid by said employer to said employee.
  5
             Labor Code § 222 states:
  6
                     It shall be unlawful, in case of any wage agreement arrived at through collective
  7                  bargaining, either willfully or unlawfully or with intent to defraud an employee, a
                     competitor, or any other person, to withhold from said employee any part of the
  8                  wage agreed upon.

  9          Labor Code § 223 states:

 10                  Where any statute or contract requires an employer to maintain the designated wage
                     scale, it shall be unlawful to secretly pay a lower wage while purporting to pay the
 11                  wage designated by statute or by contract.
 12
              124.   By the conduct described above, Defendants and each of them, have unlawfully
 13
      collected or received from Plaintiff and Expense Reimbursement Class members a part of wages
 14
      theretofore paid by an employer to its employees. Defendants have thereby secretly profited at the
 15
      expense of Plaintiff and Expense Reimbursement Class members.
 16
              125.   Therefore, Plaintiff and Expense Reimbursement Class members demand return of
 17
      all wages unlawfully deducted from all inside telephone sales agents, telemarketers, associates
 18
      and/or other inside sales personnel employed by Defendants or any of them, within the State of
 19
      California within four years of the filing of this complaint until the date of entry of judgment after
 20
      trial, and reversal of all wages unlawfully deducted and/or withheld as a result of Defendants'
 21
      telecommuting policies and/or practices.
 22
                                        EIGHTH CAUSE OF ACTION
 23
                                           UNFAIR COMPETITION
 24
                                      (Bus. & Prof. Code §§ 17200 et seq.)
 25
                                            (Plaintiff and UCL Class)
 26
              126.   Plaintiff incorporates the preceding paragraphs as if fully alleged herein.
 27
              127.   Business and Professions Code § 17200 defines "unfair competition" to include any
 28

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  1   unlawful business practice.
  2          128.    Business and Professions Code §§ 17203-17204 allow a person who has lost money

  3 or property as a result of unfair competition to bring a class action in accordance with Code of Civil

  4 Procedure § 382 to recover money or property that may have been acquired from similarly situated

  5 persons by means of unfair competition.
  6          129.    California law requires employers to pay hourly, non-exempt employees for all hours
  7 they are permitted or suffered to work, including hours that the employer knows or reasonably
  8   should know that employees have worked.
  9          130.    Plaintiff, on behalf of herself and the UCL Class members, re-alleges and
 10 incorporates the FIRST, SECOND, THIRD, and SEVENTH causes of action herein.

 11          131.    Plaintiff lost money and/or property as a result of the aforementioned unfair

 12 competition.

 13          132.    Defendants have or may have acquired money by means of unfair competition.
 14          133.    Plaintiff is informed and believes and thereupon alleges that, by committing the

 15 Labor Code violations described in this Complaint, Defendants violated Labor Code §§ 215, 216,
 16 225, 226.6, 354, 408, 553, 1175, 1199 and 2802. Defendants thus committed misdemeanors by

 17 violating the Labor Code as alleged herein.

 18          134.    Defendants have committed criminal conduct through their policies and practices of,

 19 inter alia, failing to comport with their affirmative obligations as an employer to provide non-

 20 exempt employees with uninterrupted, duty-free meal periods of at least thirty minutes for each
 21   work period of five or more hours, by failing to pay non-exempt employees for all hours worked,

 22 and by failing to reimburse them for all expenses.
 23          135.    At all relevant times, Plaintiff and UCL Class members have been non-exempt

 24 employees and entitled to the full protections of both the Labor Code and the applicable Wage

 25 Order.

 26          136.    Defendants' unlawful conduct as alleged in this Complaint amounts to and
 27 constitutes unfair competition within the meaning of Business and Professions Code section 17200

 28 et sequitur. Business and Professions Code §§ 17200 et sequitur protect against unfair competition

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  1   and allow a person who has suffered an injury-in-fact and has lost money or property as a result of
  2 an unfair, unlawful, or fraudulent business practice to seek restitution on behalf of herself and on

  3 behalf of similarly situated persons in a class-action proceeding.

  4          137.    As a result of Defendants' violations of the Labor Code during the applicable
  5   limitations period, Plaintiff has suffered an injury-in-fact and has lost money or property in the form
  6 of earned wages. Specifically, Plaintiff has lost money or property as a result of Defendants'

  7 conduct.

  8          138.    Plaintiff is informed and believes that other similarly situated persons have been

  9 subject to the same unlawful policies or practices of Defendants.

 10          139.    Due to the unfair and unlawful business practices in violation of the Labor Code,
 11   Defendants have gained a competitive advantage over other comparable companies doing business

 12 in the State of California that comply with their legal obligations.

 13          140.    California's Unfair Competition Law ("UCL") permits civil recovery and injunctive
 14 relief for "any unlawful, unfair or fraudulent business act or practice," including a practice or act

 15 that violates, or is considered unlawful under, any other state or federal law.
 16          141.    Accordingly, pursuant to Business & Professions Code §§ 17200 and 17203,
 17   Plaintiff requests the issuance of temporary, preliminary, and permanent injunctive relief enjoining
 18 Defendants, and each of them, and their agents and employees, from further violations of the Labor

 19 Code and applicable Industrial Welfare Commission Wage Orders, and upon a final hearing, an

 20 order permanently enjoining Defendants, and each of them, and their respective agents and
 21   employees, from further violations of the Labor Code and applicable Industrial Welfare

 22 Commission Wage Orders.
 23          142.    Pursuant to Business and Professions Code § 17203, Plaintiff, on behalf of herself
 24 and UCL Class members, seeks declaratory relief and restitution of all monies rightfully belonging

 25 to them that Defendants did not pay them or otherwise retained by means of its unlawful and unfair

 26 business practices.
 27          143.    Pursuant to Code of Civil Procedure § 1021.5, the substantial benefit doctrine and/or

 28 the common fund doctrine, Plaintiff and UCL Class members are entitled to recover reasonable

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       1   attorneys' fees in connection with their unfair competition claims.
    2                                              PRAYER FOR RELIEF
    3             WHEREFORE, Plaintiff, on behalf of herself, all others similarly situated prays for relief

    4 and judgment against Defendants as follows:

    5                     (1)    An order that the action be certified as a class action;

    6                     (2)    An order that Plaintiff be appointed class representative;

    7                     (3)    An order that counsel for Plaintiff be appointed class counsel;
    8                    (4)     Unpaid wages;

    9                    (5)     Actual damages;
   10                    (6)     Liquidated damages;
   11                    (7)     Restitution;
   12                    (8)     Declaratory relief;
   13                    (9)     Pre-judgment interest;

   14                    (10)    Statutory penalties;
   15                    (11)    Costs of suit;
   16                    (12)    Reasonable attorneys' fees; and
   17                    (13)    Such other relief as the Court deems just and proper.
   18                                       DEMAND FOR JURY TRIAL
   19            Plaintiff, on behalf of herself, all other similarly situated, hereby demands a jury trial on all
  20 issues so triable.
  21
  22 Dated: August 17,2022                                SETAREH LAW GROUP
  23
  24

  25                                                    SHAUN SETAREH
                                                        JOSE MARIA D. PATINO, JR.
  26                                                    MAXIM GORBUNOV
                                                        Attorneys for Plaintiff
  27                                                    KIKISHIA BURRUS
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